      Case 4:24-cv-04642      Document 3       Filed on 11/25/24 in TXSD       Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 RONALD BOB,                                   §
                                               §
         Plaintiff,                            §
                                               §
 v.                                            § CIVIL ACTION NO. 4:24-cv-04642
                                               §
 NEW CENTURY MORTGAGE                          §
 CORPORATION, DEUTSCHE BANK                    §
 NATIONAL TRUST COMPANY,                       §
 ALTISOURCE SOLUTIONS INC.,                    §
 POWER DEFAULT SERVICES INC.                   §
 AND PHH MORTGAGE                              §
 CORPORATION,                                  §
                                               §
         Defendants.                           §

               DEFENDANTS’ CORPORATE DISCLOSURE STATEMENT

        Defendants Deutsche Bank National Trust Company, as Trustee for Ixis Real Estate Capital

Trust 2006-HE2 Mortgage Pass Through Certificates, Series 2006-HE2 (“Deutsche Bank”),

Altisource Solutions, Inc. (“Altisource”), Power Default Services, Inc. (“Power Default”), and

PHH Mortgage Corporation (“PHH”) (collectively, “Defendants”) provide this Corporate

Disclosures Statement and states as follows:

        1.     Deutsche Bank is a national banking association organized under the laws of the

United States to carry on the business of a limited purpose trust company. Deutsche Bank is a

wholly owned subsidiary of Deutsche Bank Holdings, Inc., which is a wholly owned subsidiary of

Deutsche Bank Trust Corporation, which is a wholly owned subsidiary of DB USA Corporation,

which is a wholly owned subsidiary of Deutsche Bank AG, a banking corporation organized under

the laws of the Federal Republic of Germany. No publicly-held company owns 10% or more of

Deutsche Bank AG’s stock.




DEFENDANTS’ CORPORATE DISCLOSURE STATEMENT                                               Page 1
    Case 4:24-cv-04642        Document 3        Filed on 11/25/24 in TXSD         Page 2 of 3




       2.      PHH is a New Jersey Corporation and wholly owned subsidiary of Onity Group

Inc., formerly known as Ocwen Financial Corporation, a publicly owned corporation. PHH

maintains its principal place of business at 1 Mortgage Way, Mt. Laurel, New Jersey 08054. No

publicly held corporation owns more than 10% of Onity Group, Inc.’s stock.

       3.      Power Default is a Delaware Corporation with its principal place of business in

Atlanta, Georgia. Power Default is a wholly owned subsidiary of Altisource Portfolio Solutions,

Inc., which is the wholly owned subsidiary of Altisource S.à r.l., which is the wholly owned

subsidiary of Altisource Portfolio Solutions S.A., a publicly traded entity. No publicly held

corporation owns more than 10% of Altisource Portfolio Solutions S.A.’s stock.

       4.      Altisource is a Delaware Corporation with its principal place of business in Atlanta,

Georgia. Altisource is the wholly owned subsidiary of Altisource S.à r.l., which is the wholly

owned subsidiary of Altisource Portfolio Solutions S.A., a publicly traded entity. No publicly held

corporation owns more than 10% of Altisource Portfolio Solutions S.A.’s stock.


       Defendants make these disclosures solely for the purpose of Federal Rule of Civil

Procedure 7.1 and reserve the right to supplement them as needed.

                                             Respectfully submitted,

                                             By:     /s/ Thomas W. White, Jr.
                                                     KATHRYN B. DAVIS
                                                     State Bar No. 24050364
                                                     kdavis@mcglinchey.com
                                                     THOMAS W. WHITE, JR.
                                                     State Bar No. 24102645
                                                     twhite@mcglinchey.com
                                                     MCGLINCHEY STAFFORD, PLLC
                                                     1001 McKinney, Suite 1500
                                                     Houston, Texas 77002
                                                     Telephone : (713) 520-1900
                                                     Facsimile: (713) 520-1025

                                                   ATTORNEYS FOR DEFENDANTS


DEFENDANTS’ CORPORATE DISCLOSURE STATEMENT                                                  Page 2
    Case 4:24-cv-04642       Document 3       Filed on 11/25/24 in TXSD       Page 3 of 3




                               CERTIFICATE OF SERVICE

       I certify that on November 25, 2024, a true and correct copy of the foregoing was served
pursuant to the FEDERAL RULES OF CIVIL PROCEDURE as follows:

                             Via First Class Mail and/or EMAIL
                                         Ronald Bob
                                10800 Gosling Rd., # 131562
                                      Spring, TX 77393
                                    ronwbob@gmail.com
                                       Plaintiff Pro Se


                                                   /s/ Thomas W. White, Jr.
                                                   THOMAS W. WHITE, JR.




DEFENDANTS’ CORPORATE DISCLOSURE STATEMENT                                              Page 3
